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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


LOCAL 705 INTERNATIONAL BROTHER-             )
HOOD OF TEAMSTERS PENSION FUND,              )
et al.,                                      )
                                             )              CIVIL ACTION
                                Plaintiffs,  )
                                             )              NO. 18 C 3961
        vs.                                  )
                                             )              JUDGE ROBERT M. DOW, JR.
DEVON CARTAGE AND WAREHOUSE, INC., )
an Illinois corporation, f/k/a DEVON MOVERS, )
INC.,                                        )
                                             )
                                Defendant.   )



                 MOTION FOR ENTRY OF DEFAULT AND JUDGMENT

       NOW COME Plaintiffs, by their attorneys, and move for entry of judgment by default against

Defendant, DEVON CARTAGE AND WAREHOUSE, INC., an Illinois corporation, f/k/a DEVON

MOVERS, INC., in the total amount of $21,470.62, plus Plaintiffs’ court costs and reasonable

attorneys’ fees in the amount of $1,442.25.

       On June 21, 2018, the Summons and Complaint was served on the Registered Agent (by

tendering a copy of said documents to Don Wilson) at his place of business (a copy of the Summons

and Affidavit of Service is attached hereto). Therefore, Defendant’s answer was due on July 12,

2018. As Defendant has failed to timely answer the Complaint, Plaintiffs respectfully request entry

of default and judgment.




                                                     /s/ Cecilia M. Scanlon
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                                                  CERTIFICATE OF SERVICE

        The undersigned, an attorney of record, hereby certifies that she electronically filed the
foregoing document (Motion) with the Clerk of Court using the CM/ECF system, and further
certifies that I have mailed the above-referenced document by United States Mail to the following
non-CM/ECF participant on or before the hour of 5:00 p.m. this 26th day of July 2018:

                                   Mr. William K. O’Leary, Registered Agent/President
                                   Devon Cartage and Warehouse, Inc.
                                   1017 W. 48th Street
                                   Chicago, IL 60609-4305




                                                                      /s/ Cecilia M. Scanlon


Cecilia M. Scanlon
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